          Case 1:17-cv-01047-PLF Document 105 Filed 07/21/21 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

_____________________________________________
                                          )
DEMOCRACY PARTNERS, LLC, et al.,          )
                                          )
            Plaintiffs,                   )
                                          )
      v.                                  )                   Civil Action No. 17-1047 (PLF)
                                          )
PROJECT VERITAS ACTION FUND, et al.,      )
                                          )
            Defendants.                   )
__________________________________________)


                                               ORDER

                 The parties in this case are scheduled to appear before the Court on July 22, 2021

at 2:00 p.m. via videoconference for oral arguments on two pending motions: Project Veritas

Parties’ Motion to Admit Creamer’s Federal Felony Convictions for Bank Fraud and Tax Crimes

(“Motion to Admit Convictions”) [Dkt. No. 85]; and Project Veritas Parties’ Motion in Limine to

Exclude Plaintiffs’ Politically-Motivated Efforts to Introduce Irrelevant Evidence (“Motion to

Exclude Irrelevant Evidence”) [Dkt. No. 100]. It is hereby

                 ORDERED that the parties shall present their arguments concerning the Motion to

Admit Convictions first, and their arguments concerning the Motion to Exclude Irrelevant

Evidence second; it is

                 FURTHER ORDERED that for each motion, defendants shall argue first, followed

by plaintiffs; it is

                 FURTHER ORDERED that each side shall have twenty minutes in which to

present arguments concerning the Motion to Admit Convictions, including any rebuttal time; and

it is
         Case 1:17-cv-01047-PLF Document 105 Filed 07/21/21 Page 2 of 2




              FURTHER ORDERED that each side shall have thirty minutes in which to present

arguments concerning the Motion to Exclude Irrelevant Evidence, including any rebuttal time.

              SO ORDERED.


                                           _______/s/____________________
                                           PAUL L. FRIEDMAN
                                           United States District Judge

DATE: July 21, 2021




                                               2
